                     Case 1:16-cv-03760-RDB Document 10-1 Filed 12/12/16 Page 1 of 2
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                                                                   IRUWKH
                                                           District of Maryland
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                  ERIN K. MONTGOMERY
                              Plaintiff
                                 Y                                          &LYLO$FWLRQ1R 1:16-cv-03760-RDB
         IRON ROOSTER-ANNAPOLIS, LLC, et al
                  Defendant, Third-party plaintiff
                                 Y
                    DOUGLAS S. DEGLER
                       Third-party defendant


                                          SUMMONS ON A THIRD-PARTY COMPLAINT

7R(Third-party defendant’s name and address) Douglas S. Degler
                                                     125 Pennick Drive
                                                     Stevensville, Maryland 21666

                                                      Iron Rooster-Annapolis, LLC
                                                      Carl Werner
                                                      Peter Damon
         $ODZVXLWKDVEHHQILOHGDJDLQVWGHIHQGDQW Kyle Algaze                  ZKRDVWKLUGSDUW\SODLQWLII LVPDNLQJ
WKLVFODLPDJDLQVW\RXWRSD\SDUWRUDOORIZKDWWKHGHIHQGDQWPD\RZHWRWKHSODLQWLII Erin K. Montgomery              

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQGRQWKHGHIHQGDQWDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ
XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHGHIHQGDQWRU
GHIHQGDQW¶VDWWRUQH\ZKRVHQDPHDQGDGGUHVVDUH
  Francis R. Laws, Esquire and Sima G. Fried, Esquire
  100 Light Street, Suite 1100
  Baltimore, Maryland 21202
          ,WPXVWDOVREHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\ZKRVHQDPHDQGDGGUHVVDUH
  John M. Singleton, Esquire
  101 West Ridgley Road, Suite 3A
  Lutherville, Maryland 21093
       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHWKLUGSDUW\
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'DWH
                                                                              CLERK OF COURT


                                                                                          Signature of Clerk or Deputy Clerk
                      Case 1:16-cv-03760-RDB Document 10-1 Filed 12/12/16 Page 2 of 2
$2 5HY 6XPPRQVRQ7KLUG3DUW\&RPSODLQW 3DJH

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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

          u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW(place)
                                                                                RQ(date)                             RU

          u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
          RQ(date)                               DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

          u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                        ZKRLV
          GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                RQ(date)                             RU

          u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                 RU

          u 2WKHU(specify):
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 'DWH
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

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